Case 2:21-cv-00811-TSZ Document 52-1 Filed 07/06/22 Page 1 of 40




                 EXHIBIT 1
         Case 2:21-cv-00811-TSZ Document 52-1 Filed 07/06/22 Page 2 of 40


From:                Dini, Jacob (SEA)
To:                  Phil Mann
Cc:                  Rava, William C. (SEA); Marcelo, Christian W. (SEA)
Bcc:                 139303_7000 _ Pre_Adversarial IP Matters Email
Subject:             Bungie, Inc. v. AimJunkies.com, et al., No. 2:21-cv-811-TSZ - Notice of Subpoena to Custodian of Records of
                     PayPal, Inc.
Date:                Thursday, June 23, 2022 3:36:28 PM
Attachments:         Notice of PayPal Subpoena.pdf


Phil,

Please see the attached, with hard copy to follow by mail.

Best,

Jacob Dini | Perkins Coie LLP
ASSOCIATE
1201 Third Avenue Suite 4900
Seattle, WA 98101-3099
D. +1.206.359.3832
F. +1.206.359.4832
E. JDini@perkinscoie.com
               Case 2:21-cv-00811-TSZ Document 52-1 Filed 07/06/22 Page 3 of 40




 1                                                         THE HONORABLE THOMAS S. ZILLY
 2

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 7                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 8                                       AT SEATTLE

 9
     BUNGIE, INC.,                                    No. 2:21-cv-811-TSZ
10
                           Plaintiff,                 Date:     July 15, 2022
11                                                    Time:     10:00 a.m.
              v.                                      Place:    Perkins Coie LLP
12                                                              505 Howard Street
     AIMJUNKIES.COM; PHOENIX                                    Suite 1000
13   DIGITAL GROUP LLC; DAVID                                   San Francisco, CA 94105-3204
14   SCHAEFER; JORDAN GREEN;
     JEFFREY CONWAY; and JAMES MAY,
15
                           Defendants.
16

17          NOTICE OF SUBPOENA TO CUSTODIAN OF RECORDS OF PAYPAL, INC.
              TO ALL PARTIES AND TO THEIR ATTORNEYS OF RECORD:
18
              PLEASE TAKE NOTICE THAT pursuant to Rule 45 of the Federal Rules of Civil
19
     Procedure, Plaintiff Bungie, Inc., a Washington corporation (“Bungie”), will undertake efforts to
20
     serve a Subpoena in a Civil Case for the production and copying of documents on the Custodian
21
     of Records for PayPal, Inc., in care of its registered agent, CT Corporation System, 711 Capitol
22
     Way S., Ste. 204, Olympia, WA, 98501-1267. A copy of the subpoena is attached hereto.
23

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                                                                              Perkins Coie LLP
      PLAINTIFF’S NOTICE OF                                             1201 Third Avenue, Suite 4900
      SUBPOENA TO PAYPAL                                                  Seattle, WA 98101-3099
      (No. 2:21-CV-811-TSZ) –1                                              Phone: 206.359.8000
                                                                             Fax: 206.359.9000
     157168646.1
               Case 2:21-cv-00811-TSZ Document 52-1 Filed 07/06/22 Page 4 of 40




 1 DATED this 23 day of June 2022
                                               By: /s/William C. Rava
 2                                             William C. Rava, WSBA No. 29948
 3                                             Jacob P. Dini, WSBA No. 54115
                                               Perkins Coie LLP
 4                                             1201 Third Avenue, Suite 4900
                                               Seattle, WA 98101-3099
 5                                             Telephone: 206.359.8000
                                               Facsimile: 206.359.9000
 6
                                               Email: WRava@perkinscoie.com
 7                                                      JDini@perkinscoie.com

 8                                             Attorneys for Plaintiff Bungie, Inc.

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                                                                        Perkins Coie LLP
      PLAINTIFF’S NOTICE OF                                       1201 Third Avenue, Suite 4900
      SUBPOENA TO PAYPAL                                            Seattle, WA 98101-3099
      (No. 2:21-CV-811-TSZ) –2                                        Phone: 206.359.8000
                                                                       Fax: 206.359.9000
     157168646.1
               Case 2:21-cv-00811-TSZ Document 52-1 Filed 07/06/22 Page 5 of 40




 1
                                      CERTIFICATE OF SERVICE
 2
              The undersigned hereby certifies that they served a true and correct copy of the foregoing
 3
     Plaintiff’s Notice of Subpoena to Custodian of Records of PayPal, Inc. to the following via first
 4
     class mail and the email address below:
 5
                   Philip P. Mann
 6                 Mann Law Group PLLC
                   403 Madison Ave. N.
 7                 Suite 240
                   Bainbridge Island, WA 98110
 8                 Telephone: 206.855.8839
                   Facsimile: 866.341.5140
 9                 Email: phil@mannlawgroup.com
10

11

12                                                 /s/Jacob P. Dini
                                                   Jacob P. Dini
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                                                                               Perkins Coie LLP
      CERTIFICATE OF SERVICE                                             1201 Third Avenue, Suite 4900
      (No. 2:21-CV-811-TSZ) –1                                             Seattle, WA 98101-3099
                                                                             Phone: 206.359.8000
                                                                              Fax: 206.359.9000
     157168646.1
                     Case 2:21-cv-00811-TSZ Document 52-1 Filed 07/06/22 Page 6 of 40
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                           for the
                                                        Western District
                                                       __________        of Washington
                                                                  District  of __________

                          BUNGIE, INC.                                        )
                               Plaintiff                                      )
                   v.
$,0-81.,(6&203+2(1,;',*,7$/*5283                                        )        Civil Action No. 2:21-cv-811-TSZ
//&'$9,'6&+$()(5-25'$1*5((1                                           )
-())5(<&21:$<$1'-$0(60$<                                                 )
                              Defendant                                       )

                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

 To:                                             Custodian of Records of PayPal, Inc.
                          c/o CT Corporation System, 711 Capitol Way S., Ste. 204, Olympia, WA 98501-1267
                                                       (Name of person to whom this subpoena is directed)

       ✔
       u Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material: See Exhibit A



 Place: Perkins Coie LLP, 505 Howard St., Suite 1000, San                               Date and Time:
          Francisco, CA 94105-3204, Attn: William Rava                                                      07/15/2022 10:00 am

     u Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

 Place:                                                                                Date and Time:



       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:        06/23/2022

                                  CLERK OF COURT
                                                                                            OR
                                                                                                                    /s/William C. Rava
                                           Signature of Clerk or Deputy Clerk                                         Attorney’s signature


The name, address, e-mail address, and telephone number of the attorney representing (name of party)     Bungie, Inc.
                                                                        , who issues or requests this subpoena, are:
William Rava, Perkins Coie LLP, 1201 Third Ave., Suite 4900, Seattle, WA 98101, 206.359.8000,
 :5DYD#SHUNLQVFRLHFRP         Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
                     Case 2:21-cv-00811-TSZ Document 52-1 Filed 07/06/22 Page 7 of 40
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)                               .

            u I served the subpoena by delivering a copy to the named person as follows:


                                                                                           on (date)                                   ; or

            u I returned the subpoena unexecuted because:
                                                                                                                                                     .

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
            $                                     .

My fees are $                                      for travel and $                             for services, for a total of $                0.00   .


            I declare under penalty of perjury that this information is true.


Date:
                                                                                                   Server’s signature



                                                                                                 Printed name and title




                                                                                                    Server’s address

Additional information regarding attempted service, etc.:
                      Case 2:21-cv-00811-TSZ Document 52-1 Filed 07/06/22 Page 8 of 40
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
          Case 2:21-cv-00811-TSZ Document 52-1 Filed 07/06/22 Page 9 of 40




                                             Exhibit A

         1.    All documents relating to any account(s) or transaction(s) involving any of the

following persons or entities, including documents which concern Bungie software, Destiny 2,

Destiny 2 VIP Access, or related software:

         Phoenix Digital Group LLC

         AIMJUNKIES

         David Schaefer

         Jeffrey Conway

         Jordan Green

         James May

         Warren Apenzeller

         2.    All documents relating to any account(s) or transaction(s) involving the merchant

NETNOOBS, including documents which concern Bungie software, Destiny 2, Destiny 2 VIP

Access, or related software.

         3.    All documents relating to any account(s) or transaction(s) involving the phone

number 602-526-4956, including documents which concern Bungie software, Destiny 2, Destiny

2 VIP Access, or related software.

         4.    All documents relating to any account(s) or transaction(s) involving any of the

following email addresses, including documents which concern Bungie software, Destiny 2,

Destiny 2 VIP Access, or related software:

         admin@aimjunkies.com

         aimjunkies@yahoo.com

         phoenixdigitalgroup2012@gmail.com




157168972.1
         Case 2:21-cv-00811-TSZ Document 52-1 Filed 07/06/22 Page 10 of 40




         D7958@hotmail.com

         D7958@ymail.com

         jgweb@hotmail.com

         jgweb2000@hotmail.com

         sctejeff@hotmail.com

         jc1068@yahoo.com

         Letstry2ormore@yahoo.com

         sammijoconway@gmail.com

         Rconway1068@yahoo.com

         Roryconway204@yahoo.com

         bargras@qwest.net

         james.q3abc@gmail.com

         netnoobs@gmail.com

         nunyabiznizz2020@gmail.com

         aj-oldman@qq.com




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157168972.1
Case 2:21-cv-00811-TSZ Document 52-1 Filed 07/06/22 Page 11 of 40




                 EXHIBIT 2
Case 2:21-cv-00811-TSZ Document 52-1 Filed 07/06/22 Page 12 of 40
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                 EXHIBIT 3
        Case 2:21-cv-00811-TSZ Document 52-1 Filed 07/06/22 Page 14 of 40


From:             Phil Mann
To:               Dini, Jacob (SEA)
Cc:               Rava, William C. (SEA); Marcelo, Christian W. (SEA)
Subject:          Re: Bungie, Inc. v. AimJunkies.com, et al., No. 2:21-cv-811-TSZ - Notice of Subpoena to Custodian of Records of
                  PayPal, Inc.
Date:             Thursday, June 30, 2022 8:07:02 AM




Hello Will, hope all is well.

We have some objections to the PayPal subpoena you served as well as some general
objections to the further discovery you served and would like to discuss them with you as soon
as possible.

Basically, with respect to the subpoena, we object to the extent it seeks information beyond
that reasonably related to the products at issue, namely, what you refer to as, "Bungie
software, Destiny 2, Destiny 2 VIP Access or related software." Although we do not object to
the production of such material, we do object to the extent the subpoena requests "All
Documents" beyond these, which would include products having absolutely nothing to do with
Bungie or the subject matter of this suit.

Please let me know if you are agreeable to limiting the subpoena to, "Bungie software, Destiny
2, Destiny 2 VIP Access or related software."

As to the interrogatories and document requests you served, we believe these are premature
given that they seek information relating to the individual defendants. As you know, there is a
pending motion that, if granted, will dismiss the individuals from the case. Until there is a
decision on that motion, we do not know if the individual defendants will remain or will not
remain in the case.

Please let us know if you are agreeable to a general stay of discovery until the court rules on
that motion. Obviously, if you agree, we will agree to similarly hold in abeyance the
discovery we served on Bungie as well.

Please let us know as soon as you can your response to these requests and when we can have a
conference to discuss these. If we cannot reach agreement, it is our intention to file a motion
for a protective order. I am hopeful we can avoid that if possible.

Thanks and all the best,

Phil



On 6/23/22 3:36 PM, Dini, Jacob (SEA) wrote:

        Phil,

        Please see the attached, with hard copy to follow by mail.

        Best,
Case 2:21-cv-00811-TSZ Document 52-1 Filed 07/06/22 Page 15 of 40


Jacob Dini | Perkins Coie LLP
ASSOCIATE
1201 Third Avenue Suite 4900
Seattle, WA 98101-3099
D. +1.206.359.3832
F. +1.206.359.4832
E. JDini@perkinscoie.com




NOTICE: This communication may contain privileged or other confidential information. If you have received it in error,
please advise the sender by reply email and immediately delete the message and any attachments without copying or
disclosing the contents. Thank you.
Case 2:21-cv-00811-TSZ Document 52-1 Filed 07/06/22 Page 16 of 40




                 EXHIBIT 4
        Case 2:21-cv-00811-TSZ Document 52-1 Filed 07/06/22 Page 17 of 40


From:                Rava, William C. (SEA)
To:                  Phil Mann
Cc:                  Marcelo, Christian W. (SEA); Dini, Jacob (SEA)
Subject:             RE: ***SPAM*** RE: ***SPAM*** RE: Bungie, Inc. v. AimJunkies.com, et al., No. 2:21-cv-811-TSZ - Notice of
                     Subpoena to Custodian of Records of PayPal, Inc.
Date:                Tuesday, July 5, 2022 7:44:46 PM


Phil,

Based on your representations, we will attempt to communicate with PayPal about removing the
uninvolved family member emails. Without some agreement on the other subpoena content issues,
no, we are not willing to change the response date.

As to customer information, as we have stated, they are relevant to our claims for several reasons,
including in response to your jurisdictional arguments and in support of our secondary infringement
claims, as to which customers are potential witnesses. So, yes, we are entitled to customer
information.

Are you now dropping your objections related to “personal financial transactions” (motion
paragraph 4) and non-Bungie data (what we discussed on Friday)?

As to this and the other issues, we’ll discuss further with our client. Given the timing, however, we
have little choice but to plan to file our response tomorrow. That’s why these discussions are meant
to be had before any motion gets filed. Maybe we can reach an agreement thereafter. If we can’t
reach an agreement—and we’ve already laid out our positions several times—we’ll need to let the
court decide.

Will

William Rava | Perkins Coie LLP
PARTNER
1201 Third Avenue Suite 4900
Seattle, WA 98101-3099
D. +1.206.359.6338
F. +1.206.359.7338
E. WRava@perkinscoie.com



From: Phil Mann <phil@mannlawgroup.com>
Sent: Tuesday, July 05, 2022 2:37 PM
To: Rava, William C. (SEA) <WRava@perkinscoie.com>
Cc: Marcelo, Christian W. (SEA) <CMarcelo@perkinscoie.com>; Dini, Jacob (SEA)
<JDini@perkinscoie.com>
Subject: Re: ***SPAM*** RE: ***SPAM*** RE: Bungie, Inc. v. AimJunkies.com, et al., No. 2:21-cv-
811-TSZ - Notice of Subpoena to Custodian of Records of PayPal, Inc.


Will,

Further to my earlier email, the emails of the family members who are not engaged in the
operation or action of Phoenix Digital or Aimjunkies are:
       Case 2:21-cv-00811-TSZ Document 52-1 Filed 07/06/22 Page 18 of 40



Letstry2ormore@yahoo.com

sammijoconway@gmail.com

Rconway1068@yahoo.com

Roryconway204@yahoo.com

They have no information relevant to any of the issues in the case and should be dropped from
the subpoena.

I have repeatedly asked whether you can/will set back the response date for the subpoena and,
as you have not answered, can only conclude you are unwilling to do so.

Another alternative we offer is for you to withdraw the subpoena, while we served PayPal
with a subpoena of our own with your same search terms. Once we receive the results from
PayPal, we will redact customer names and other sensitive irrelevant information and provide
the redacted results to you. As I mentioned on several occasions, you are entitled to learn the
extent of the sales of the relevant products and revenues derived therefrom, and we will in no
way impede your access to that information. Our concern is and remains your insistence on
receiving customer names and similar information, which we can only view as being intended
to enable harrassment of Phoenix Digital's customers.

Please let us know if you are agreeable to this alternate approach.

Best Regards,

Phil



On 7/5/22 12:57 PM, Rava, William C. (SEA) wrote:
       Phil,

       We think we’ve addressed your concerns in at least 3 ways. First, we expressly offered
       to remove family-member-only identifiers from the subpoena, if you confirm which
       emails those are and that they are not involved in any way in the issues raised in this
       case. Second, we proposed a protective order, which, when entered, should address at
       least some of your confidentiality concerns. We look forward to your comments on our
       proposed draft. Third, we’ve explained why the sought-after material is relevant to
       Bungie’s claims (and, as we earlier explained, we don’t think you have standing to
       object to the subpoena on relevance grounds in all events). If you have some other,
       specific proposal related to adjusting the material that the PayPal subpoena seeks, we
       are willing to consider it.

       Will

       William Rava | Perkins Coie LLP
       PARTNER
Case 2:21-cv-00811-TSZ Document 52-1 Filed 07/06/22 Page 19 of 40


1201 Third Avenue Suite 4900
Seattle, WA 98101-3099
D. +1.206.359.6338
F. +1.206.359.7338
E. WRava@perkinscoie.com



From: Phil Mann <phil@mannlawgroup.com>
Sent: Tuesday, July 05, 2022 7:42 AM
To: Rava, William C. (SEA) <WRava@perkinscoie.com>
Cc: Marcelo, Christian W. (SEA) <CMarcelo@perkinscoie.com>; Dini, Jacob (SEA)
<JDini@perkinscoie.com>
Subject: Re: ***SPAM*** RE: Bungie, Inc. v. AimJunkies.com, et al., No. 2:21-cv-811-
TSZ - Notice of Subpoena to Custodian of Records of PayPal, Inc.


Thank you,Wil.

Based on your response as outlined below, it appears you are unwilling to narrow
any of the requests made in the subpoena to PayPal. I was hopeful you would
agree to narrow them and/or contact PayPal to see what their intentions are. As
you have not addressed that, I can only assume that you are unable or unwilling to
do so.

As we also discussed, if you could push back the response date for the subpoena
to sometime after the current July 15, 2022 response date, that would obviate the
current time crunch and give us additional time to discuss this and attempt an
agreed resolution without court intervention. Please clarify whether you are able
and willing to do so.

As we do not appear to have resolved our differences, we must proceed with our
pending motion as the July 15, 2022 response date for the subpoena makes it
necessary for us to proceed quickly.

If I have misunderstood your position or if you are willing to make some real
concessions regarding the scope of the subpoena, please let me know.

All the best,

Phil



On 7/1/22 1:24 PM, Rava, William C. (SEA) wrote:
        Phil,

        Thanks again for the call earlier today.

        From that call and your motion, we understand Defendants have concerns
        about the breadth of the PayPal subpoena and in particular: (1) that
        PayPal might produce information related to transactions unrelated to
        Bungie; (2) that PayPal might produce information identifying AimJunkie
Case 2:21-cv-00811-TSZ Document 52-1 Filed 07/06/22 Page 20 of 40


     customers; (3) that PayPal might produce personal/private information
     related to the individual defendants; and (4) that PayPal might produce
     information related to accounts associated with non-defendant family
     members.

     As to ##1-3, we do not know how PayPal maintains account data, what
     account data PayPal has, and whether/how PayPal is able to separate data
     based on any of the factors you identified. In order to ensure that we get
     all the data related to sales and distribution of the accused product, we
     need to inquire broadly for information related to accounts, names,
     phone numbers, or other identifying information that we do know.
     Because we don’t know if PayPal can delineate a sale of a Destiny 2 cheat
     from a sale of some other non-Bungie product, for example, we need to
     ask for all data. Because we know (from a receipt that we got from PayPal
     for the purchase of the accused Destiny 2 cheat) that Jeff Conway’s
     personal phone number is used in connection with at least one PayPal
     account that was used to distribute the accused product, we need to ask
     about data associated with other such individualized data. The fact that
     there is or could be overlap between individual and company business is
     also directly relevant to the issues, including those raised in your pending
     motion to dismiss. Although we don’t know what level of detail we will
     get from PayPal regarding customers, customer identifying information is
     relevant to our claims. Among other things, customer location data could
     help us establish sales in and to Washington to establish personal
     jurisdiction; and what customers did with the accused product is directly
     relevant to our contributory liability claims.

     Of course, as I said, we aren’t interested in doctor payments,
     entertainment subscriptions, or similar data that PayPal might produce.
     Some of that is just standard bycatch in discovery (per above, some is
     relevant, in our view). And we’ve proposed and circulated a Protective
     Order that should, at least in part, address any such concerns. We look
     forward to your feedback on that proposed Protective Order.

     As to #4 above, if, in request #4 in the subpoena, we have included email
     addresses of family members of individual defendants who are not
     involved in any way in the issues raised in this case, please identify those
     email addresses. We are willing to remove them from the subpoena with
     confirmation from you that the PayPal account(s) in question has not
     been used in any manner by any of the Defendants.

     Will

     William Rava | Perkins Coie LLP
     PARTNER
     1201 Third Avenue Suite 4900
     Seattle, WA 98101-3099
Case 2:21-cv-00811-TSZ Document 52-1 Filed 07/06/22 Page 21 of 40


     D. +1.206.359.6338
     F. +1.206.359.7338
     E. WRava@perkinscoie.com



     From: Phil Mann <phil@mannlawgroup.com>
     Sent: Friday, July 01, 2022 10:16 AM
     To: Rava, William C. (SEA) <WRava@perkinscoie.com>
     Cc: Marcelo, Christian W. (SEA) <CMarcelo@perkinscoie.com>; Dini, Jacob
     (SEA) <JDini@perkinscoie.com>
     Subject: Re: Bungie, Inc. v. AimJunkies.com, et al., No. 2:21-cv-811-TSZ -
     Notice of Subpoena to Custodian of Records of PayPal, Inc.


     On a call right now that I hope finishes before 10:30. I'll ping you
     when I am off.

     Thanks,

     Phil

     On 7/1/22 9:57 AM, Rava, William C. (SEA) wrote:
            Thanks, Phil. If you are open a little earlier, I can call you at
            10:30?

            William Rava | Perkins Coie LLP
            PARTNER
            1201 Third Avenue Suite 4900
            Seattle, WA 98101-3099
            D. +1.206.359.6338
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            E. WRava@perkinscoie.com



            From: Phil Mann <phil@mannlawgroup.com>
            Sent: Thursday, June 30, 2022 9:30 PM
            To: Rava, William C. (SEA) <WRava@perkinscoie.com>
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            <CMarcelo@perkinscoie.com>; Dini, Jacob (SEA)
            <JDini@perkinscoie.com>
            Subject: Re: Bungie, Inc. v. AimJunkies.com, et al., No. 2:21-
            cv-811-TSZ - Notice of Subpoena to Custodian of Records of
            PayPal, Inc.


            10:45 works for me.

            And as you know, refiling the motion will prevent
            consideration of it before the subpoena due date runs. So
            again my question: Are you agreeable to pushing back
            the response date for the subpoena? A simple "yes" will
            largely resolve this.
Case 2:21-cv-00811-TSZ Document 52-1 Filed 07/06/22 Page 22 of 40


         All the best,

         Phil



         On 6/30/22 8:23 PM, Rava, William C. (SEA) wrote:
                Phil,

                I’m available to discuss tomorrow, after about
                10:45 am. What’s good for you?

                The rules require that the parties confer before
                you file a motion, not after. So you should
                withdraw the motion now. Nothing prevents
                you from re-filing after we confer.

                Will

                William Rava | Perkins Coie LLP
                PARTNER
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                <CMarcelo@perkinscoie.com>; Dini, Jacob
                (SEA) <JDini@perkinscoie.com>
                Subject: Re: Bungie, Inc. v. AimJunkies.com, et
                al., No. 2:21-cv-811-TSZ - Notice of Subpoena
                to Custodian of Records of PayPal, Inc.


                Will, as made clear in my motion, I will be
                happy to withdraw it if we confer and come
                to an agreement before you need to
                respond.

                When are you free to speak? I am around all
                day tomorrow and early next week. There is
                plenty of time to speak and reach agreement
                if possible before you need to respond.

                Alternatively, are you willing to postpone
Case 2:21-cv-00811-TSZ Document 52-1 Filed 07/06/22 Page 23 of 40


              the response date on the subpoena? That is
              why we needed to move quickly on this.
              Please advise.

              All the best,

              Phil



              On 6/30/22 5:14 PM, Rava, William C. (SEA)
              wrote:
                     Phil,

                     We request that you withdraw the
                     motion you just filed. If we have
                     to respond to it, we will seek
                     sanctions and/or fees for your
                     failure to meet-and-confer in
                     good faith per LCR 26. You sent
                     your email just eight hours before
                     you filed the motion; you never
                     tried to call me (or Jake or
                     Christian) (we are all working
                     today); and your email didn’t say
                     that you needed or wanted a
                     response today. Moreover, you
                     have had the subpoena in
                     question for a week – plenty of
                     time to review and confer with us
                     before filing the present motion.

                     Assuming you’ll withdraw your
                     motion, we’ll take a look at your
                     suggestions and confer with our
                     client.

                     In the meantime though, can you
                     clarify the issue with the
                     interrogatories and requests for
                     production and how you believe
                     they are premature as to the
                     individual defendants, or identify
                     which specific discovery requests
                     you take issue with? That set of
                     discovery requests were served
Case 2:21-cv-00811-TSZ Document 52-1 Filed 07/06/22 Page 24 of 40


                   on Phoenix Digital—not the
                   individual defendants—and
                   Phoenix Digital is not the subject
                   of the pending motion to dismiss.
                   As to the subpoena, to the extent
                   your objection sounds in
                   relevance, as it appears it does,
                   we don’t think you have no
                   standing to object. See Anstead v.
                   Virginia Mason Med. Ctr., 2022
                   WL 1166440, at *3 (W.D. Wash.
                   Apr. 20, 2022) (“The Court agrees
                   with other district courts in the
                   Ninth Circuit that a party generally
                   lacks standing to object to a
                   subpoena served on a third party
                   on grounds of relevance or undue
                   burden.”) (collecting cases). But
                   maybe we are misunderstanding
                   your objection, something that a
                   call or actual conferral might
                   address.

                   Will

                   William Rava | Perkins Coie LLP
                   PARTNER
                   1201 Third Avenue Suite 4900
                   Seattle, WA 98101-3099
                   D. +1.206.359.6338
                   F. +1.206.359.7338
                   E. WRava@perkinscoie.com



                   From: Phil Mann
                   <phil@mannlawgroup.com>
                   Sent: Thursday, June 30, 2022
                   8:07 AM
                   To: Dini, Jacob (SEA)
                   <JDini@perkinscoie.com>
                   Cc: Rava, William C. (SEA)
                   <WRava@perkinscoie.com>;
                   Marcelo, Christian W. (SEA)
                   <CMarcelo@perkinscoie.com>
                   Subject: Re: Bungie, Inc. v.
                   AimJunkies.com, et al., No. 2:21-
                   cv-811-TSZ - Notice of Subpoena
                   to Custodian of Records of PayPal,
                   Inc.
Case 2:21-cv-00811-TSZ Document 52-1 Filed 07/06/22 Page 25 of 40




                   Hello Will, hope all is well.

                   We have some objections to the
                   PayPal subpoena you served as
                   well as some general objections
                   to the further discovery you
                   served and would like to discuss
                   them with you as soon as
                   possible.

                   Basically, with respect to the
                   subpoena, we object to the
                   extent it seeks information
                   beyond that reasonably related
                   to the products at issue, namely,
                   what you refer to as, "Bungie
                   software, Destiny 2, Destiny 2
                   VIP Access or related
                   software." Although we do not
                   object to the production of such
                   material, we do object to the
                   extent the subpoena requests
                   "All Documents" beyond these,
                   which would include products
                   having absolutely nothing to do
                   with Bungie or the subject
                   matter of this suit.

                   Please let me know if you are
                   agreeable to limiting the
                   subpoena to, "Bungie software,
                   Destiny 2, Destiny 2 VIP
                   Access or related software."

                   As to the interrogatories and
                   document requests you served,
                   we believe these are premature
                   given that they seek information
                   relating to the individual
                   defendants. As you know, there
                   is a pending motion that, if
                   granted, will dismiss the
                   individuals from the case. Until
                   there is a decision on that
                   motion, we do not know if the
                   individual defendants will
                   remain or will not remain in the
                   case.
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                   Please let us know if you are
                   agreeable to a general stay of
                   discovery until the court rules
                   on that motion. Obviously, if
                   you agree, we will agree to
                   similarly hold in abeyance the
                   discovery we served on Bungie
                   as well.

                   Please let us know as soon as
                   you can your response to these
                   requests and when we can have
                   a conference to discuss these. If
                   we cannot reach agreement, it is
                   our intention to file a motion for
                   a protective order. I am hopeful
                   we can avoid that if possible.

                   Thanks and all the best,

                   Phil



                   On 6/23/22 3:36 PM, Dini, Jacob
                   (SEA) wrote:
                          Phil,

                          Please see the
                          attached, with hard
                          copy to follow by
                          mail.

                          Best,

                          Jacob Dini | Perkins
                          Coie LLP
                          ASSOCIATE
                          1201 Third Avenue Suite
                          4900
                          Seattle, WA 98101-3099
                          D. +1.206.359.3832
                          F. +1.206.359.4832
                          E. JDini@perkinscoie.com




                          NOTICE: This
                          communication may contain
                          privileged or other
                          confidential information. If
                          you have received it in error,
                          please advise the sender by
                          reply email and immediately
Case 2:21-cv-00811-TSZ Document 52-1 Filed 07/06/22 Page 27 of 40


                                              delete the message and any
                                              attachments without copying
                                              or disclosing the contents.
                                              Thank you.




                                    NOTICE: This communication may contain
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Case 2:21-cv-00811-TSZ Document 52-1 Filed 07/06/22 Page 28 of 40




                 EXHIBIT 5
        Case 2:21-cv-00811-TSZ Document 52-1 Filed 07/06/22 Page 29 of 40


From:                Phil Mann
To:                  Rava, William C. (SEA)
Cc:                  Marcelo, Christian W. (SEA); Dini, Jacob (SEA)
Subject:             Re: ***SPAM*** RE: ***SPAM*** RE: Bungie, Inc. v. AimJunkies.com, et al., No. 2:21-cv-811-TSZ - Notice of
                     Subpoena to Custodian of Records of PayPal, Inc.
Date:                Tuesday, July 5, 2022 1:32:48 PM




Will, as we discussed, my clients cannot and will not agree to the disclosure of the identity of
their customers, etc. Unless you will agree to back off on at least that, I think we are at an
impasse. Are you insisting on obtaining customer names and/or other identifiers? Please
provide a simple yes or no answer. Also, were you able to delay the production date for the
subpoena? Again, as simple yes or no is all that is needed.

Also, I have responded to the proposed protective order and have made a counter-proposal
more in keeping with the model order and consistent with orders the court has entered int the
past.

Best Regards,

Phil



On 7/5/22 12:57 PM, Rava, William C. (SEA) wrote:

        Phil,

        We think we’ve addressed your concerns in at least 3 ways. First, we expressly offered
        to remove family-member-only identifiers from the subpoena, if you confirm which
        emails those are and that they are not involved in any way in the issues raised in this
        case. Second, we proposed a protective order, which, when entered, should address at
        least some of your confidentiality concerns. We look forward to your comments on our
        proposed draft. Third, we’ve explained why the sought-after material is relevant to
        Bungie’s claims (and, as we earlier explained, we don’t think you have standing to
        object to the subpoena on relevance grounds in all events). If you have some other,
        specific proposal related to adjusting the material that the PayPal subpoena seeks, we
        are willing to consider it.

        Will

        William Rava | Perkins Coie LLP
        PARTNER
        1201 Third Avenue Suite 4900
        Seattle, WA 98101-3099
        D. +1.206.359.6338
        F. +1.206.359.7338
        E. WRava@perkinscoie.com



        From: Phil Mann <phil@mannlawgroup.com>
        Sent: Tuesday, July 05, 2022 7:42 AM
        To: Rava, William C. (SEA) <WRava@perkinscoie.com>
Case 2:21-cv-00811-TSZ Document 52-1 Filed 07/06/22 Page 30 of 40


Cc: Marcelo, Christian W. (SEA) <CMarcelo@perkinscoie.com>; Dini, Jacob (SEA)
<JDini@perkinscoie.com>
Subject: Re: ***SPAM*** RE: Bungie, Inc. v. AimJunkies.com, et al., No. 2:21-cv-811-
TSZ - Notice of Subpoena to Custodian of Records of PayPal, Inc.


Thank you,Wil.

Based on your response as outlined below, it appears you are unwilling to narrow
any of the requests made in the subpoena to PayPal. I was hopeful you would
agree to narrow them and/or contact PayPal to see what their intentions are. As
you have not addressed that, I can only assume that you are unable or unwilling to
do so.

As we also discussed, if you could push back the response date for the subpoena
to sometime after the current July 15, 2022 response date, that would obviate the
current time crunch and give us additional time to discuss this and attempt an
agreed resolution without court intervention. Please clarify whether you are able
and willing to do so.

As we do not appear to have resolved our differences, we must proceed with our
pending motion as the July 15, 2022 response date for the subpoena makes it
necessary for us to proceed quickly.

If I have misunderstood your position or if you are willing to make some real
concessions regarding the scope of the subpoena, please let me know.

All the best,

Phil



On 7/1/22 1:24 PM, Rava, William C. (SEA) wrote:
       Phil,

       Thanks again for the call earlier today.

       From that call and your motion, we understand Defendants have concerns
       about the breadth of the PayPal subpoena and in particular: (1) that
       PayPal might produce information related to transactions unrelated to
       Bungie; (2) that PayPal might produce information identifying AimJunkie
       customers; (3) that PayPal might produce personal/private information
       related to the individual defendants; and (4) that PayPal might produce
       information related to accounts associated with non-defendant family
       members.

       As to ##1-3, we do not know how PayPal maintains account data, what
       account data PayPal has, and whether/how PayPal is able to separate data
Case 2:21-cv-00811-TSZ Document 52-1 Filed 07/06/22 Page 31 of 40


     based on any of the factors you identified. In order to ensure that we get
     all the data related to sales and distribution of the accused product, we
     need to inquire broadly for information related to accounts, names,
     phone numbers, or other identifying information that we do know.
     Because we don’t know if PayPal can delineate a sale of a Destiny 2 cheat
     from a sale of some other non-Bungie product, for example, we need to
     ask for all data. Because we know (from a receipt that we got from PayPal
     for the purchase of the accused Destiny 2 cheat) that Jeff Conway’s
     personal phone number is used in connection with at least one PayPal
     account that was used to distribute the accused product, we need to ask
     about data associated with other such individualized data. The fact that
     there is or could be overlap between individual and company business is
     also directly relevant to the issues, including those raised in your pending
     motion to dismiss. Although we don’t know what level of detail we will
     get from PayPal regarding customers, customer identifying information is
     relevant to our claims. Among other things, customer location data could
     help us establish sales in and to Washington to establish personal
     jurisdiction; and what customers did with the accused product is directly
     relevant to our contributory liability claims.

     Of course, as I said, we aren’t interested in doctor payments,
     entertainment subscriptions, or similar data that PayPal might produce.
     Some of that is just standard bycatch in discovery (per above, some is
     relevant, in our view). And we’ve proposed and circulated a Protective
     Order that should, at least in part, address any such concerns. We look
     forward to your feedback on that proposed Protective Order.

     As to #4 above, if, in request #4 in the subpoena, we have included email
     addresses of family members of individual defendants who are not
     involved in any way in the issues raised in this case, please identify those
     email addresses. We are willing to remove them from the subpoena with
     confirmation from you that the PayPal account(s) in question has not
     been used in any manner by any of the Defendants.

     Will

     William Rava | Perkins Coie LLP
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     Cc: Marcelo, Christian W. (SEA) <CMarcelo@perkinscoie.com>; Dini, Jacob
Case 2:21-cv-00811-TSZ Document 52-1 Filed 07/06/22 Page 32 of 40


     (SEA) <JDini@perkinscoie.com>
     Subject: Re: Bungie, Inc. v. AimJunkies.com, et al., No. 2:21-cv-811-TSZ -
     Notice of Subpoena to Custodian of Records of PayPal, Inc.


     On a call right now that I hope finishes before 10:30. I'll ping you
     when I am off.

     Thanks,

     Phil

     On 7/1/22 9:57 AM, Rava, William C. (SEA) wrote:
            Thanks, Phil. If you are open a little earlier, I can call you at
            10:30?

            William Rava | Perkins Coie LLP
            PARTNER
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            E. WRava@perkinscoie.com



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            Sent: Thursday, June 30, 2022 9:30 PM
            To: Rava, William C. (SEA) <WRava@perkinscoie.com>
            Cc: Marcelo, Christian W. (SEA)
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            Subject: Re: Bungie, Inc. v. AimJunkies.com, et al., No. 2:21-
            cv-811-TSZ - Notice of Subpoena to Custodian of Records of
            PayPal, Inc.


            10:45 works for me.

            And as you know, refiling the motion will prevent
            consideration of it before the subpoena due date runs. So
            again my question: Are you agreeable to pushing back
            the response date for the subpoena? A simple "yes" will
            largely resolve this.

            All the best,

            Phil



            On 6/30/22 8:23 PM, Rava, William C. (SEA) wrote:
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              Phil,

              I’m available to discuss tomorrow, after about
              10:45 am. What’s good for you?

              The rules require that the parties confer before
              you file a motion, not after. So you should
              withdraw the motion now. Nothing prevents
              you from re-filing after we confer.

              Will

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              (SEA) <JDini@perkinscoie.com>
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              When are you free to speak? I am around all
              day tomorrow and early next week. There is
              plenty of time to speak and reach agreement
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              Alternatively, are you willing to postpone
              the response date on the subpoena? That is
              why we needed to move quickly on this.
              Please advise.

              All the best,

              Phil
Case 2:21-cv-00811-TSZ Document 52-1 Filed 07/06/22 Page 34 of 40




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              wrote:
                    Phil,

                    We request that you withdraw the
                    motion you just filed. If we have
                    to respond to it, we will seek
                    sanctions and/or fees for your
                    failure to meet-and-confer in
                    good faith per LCR 26. You sent
                    your email just eight hours before
                    you filed the motion; you never
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                    Christian) (we are all working
                    today); and your email didn’t say
                    that you needed or wanted a
                    response today. Moreover, you
                    have had the subpoena in
                    question for a week – plenty of
                    time to review and confer with us
                    before filing the present motion.

                    Assuming you’ll withdraw your
                    motion, we’ll take a look at your
                    suggestions and confer with our
                    client.

                    In the meantime though, can you
                    clarify the issue with the
                    interrogatories and requests for
                    production and how you believe
                    they are premature as to the
                    individual defendants, or identify
                    which specific discovery requests
                    you take issue with? That set of
                    discovery requests were served
                    on Phoenix Digital—not the
                    individual defendants—and
                    Phoenix Digital is not the subject
                    of the pending motion to dismiss.
                    As to the subpoena, to the extent
                    your objection sounds in
                    relevance, as it appears it does,
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                   we don’t think you have no
                   standing to object. See Anstead v.
                   Virginia Mason Med. Ctr., 2022
                   WL 1166440, at *3 (W.D. Wash.
                   Apr. 20, 2022) (“The Court agrees
                   with other district courts in the
                   Ninth Circuit that a party generally
                   lacks standing to object to a
                   subpoena served on a third party
                   on grounds of relevance or undue
                   burden.”) (collecting cases). But
                   maybe we are misunderstanding
                   your objection, something that a
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                   Marcelo, Christian W. (SEA)
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                   Subject: Re: Bungie, Inc. v.
                   AimJunkies.com, et al., No. 2:21-
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                   to Custodian of Records of PayPal,
                   Inc.


                   Hello Will, hope all is well.

                   We have some objections to the
                   PayPal subpoena you served as
                   well as some general objections
                   to the further discovery you
Case 2:21-cv-00811-TSZ Document 52-1 Filed 07/06/22 Page 36 of 40


                   served and would like to discuss
                   them with you as soon as
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                   Basically, with respect to the
                   subpoena, we object to the
                   extent it seeks information
                   beyond that reasonably related
                   to the products at issue, namely,
                   what you refer to as, "Bungie
                   software, Destiny 2, Destiny 2
                   VIP Access or related
                   software." Although we do not
                   object to the production of such
                   material, we do object to the
                   extent the subpoena requests
                   "All Documents" beyond these,
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                   having absolutely nothing to do
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                   As to the interrogatories and
                   document requests you served,
                   we believe these are premature
                   given that they seek information
                   relating to the individual
                   defendants. As you know, there
                   is a pending motion that, if
                   granted, will dismiss the
                   individuals from the case. Until
                   there is a decision on that
                   motion, we do not know if the
                   individual defendants will
                   remain or will not remain in the
                   case.

                   Please let us know if you are
                   agreeable to a general stay of
                   discovery until the court rules
                   on that motion. Obviously, if
                   you agree, we will agree to
                   similarly hold in abeyance the
                   discovery we served on Bungie
                   as well.
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                   Please let us know as soon as
                   you can your response to these
                   requests and when we can have
                   a conference to discuss these. If
                   we cannot reach agreement, it is
                   our intention to file a motion for
                   a protective order. I am hopeful
                   we can avoid that if possible.

                   Thanks and all the best,

                   Phil



                   On 6/23/22 3:36 PM, Dini, Jacob
                   (SEA) wrote:
                            Phil,

                            Please see the
                            attached, with hard
                            copy to follow by
                            mail.

                            Best,

                            Jacob Dini | Perkins
                            Coie LLP
                            ASSOCIATE
                            1201 Third Avenue Suite
                            4900
                            Seattle, WA 98101-3099
                            D. +1.206.359.3832
                            F. +1.206.359.4832
                            E. JDini@perkinscoie.com




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                            privileged or other
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                            delete the message and any
                            attachments without copying
                            or disclosing the contents.
                            Thank you.




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                                    copying or disclosing the contents. Thank you.




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                 EXHIBIT 6
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